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Pfizer Inc
95 Corporate Drive
Bridgewater, NJ O8B807

(800}438-1985

 

March 13, 2006

: 710
Ms, Cynthia Lynch maN! 4433 b

1817 Dask Drive
Killeen, TX 76543

Dear Ms. Lynch:

Thank you for taking the time to contact Pfizer, Inc., regarding experiences that occured during treatment
with NEURONTIN, Please f provide the ‘applicable information requested below, so we may be able ta obtain
further data from the treating or prescribing physician regarding these experiences.

Pfizer, Inc., maintains a medical event database comprised of all reports received from patients, consumers
and health professionals. In protecting the public health we, along with global regulators (e.g. US FDA),
rely primarily on health professionais to provide follow-up information on the events or symptoms that are
reported. The physician's input is, therefore, extremely important as it is used to monitor the safe use of

products and to develop accurate prescribing information.

A postage-paid return envelope is enclosed for your convenience. Thank you once again for your
cooperation.

Please contact our call center at (800)}438-1985 with any questions you may have regarding this
correspondence.

Sincerely,

Tonsme ? blumethe

Lorraine Blumetti sa
Manager US Output/Global Licensed Partner Exchange
Safety Surveillance and Reporting K0223261

LB/as

 

if you are not the patient who was treated with NEURONTIN, please provide:

Patient’s Name: Address:

if you are the patient, by providing your physician's information you are giving him/her permission to
forward information regarding your experience with NEURONTIN to Pfizer, Inc.

Treating or prescribing physician’s name:_<l @. (Cr ty W Clark
Address: x mo

2ueL SeuTh Br street Telephone number: ao th m1 74-2 Ll
Templs Texas 76506

 
